       Case 4:15-cr-00122-DLH             Document 445      Filed 07/29/16      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,             )
                                      )
               Plaintiff,             )       ORDER
                                      )
       vs.                            )
                                      )
Ronnie Ray Taylor,                    )       Case No. 4:15-cr-122
                                      )
               Defendant.             )


       Per the request of the pretrial services office, the court strikes the condition of defendant's

release requiring him comply with a curfew. All other conditions of release imposed upon defendant

by the court remain in effect.

       IT IS SO ORDERED.

       Dated this 29th day of July, 2016.

                                                      /s/ Charles S. Miller, Jr.
                                                      Charles S. Miller, Jr., Magistrate Judge
                                                      United States District Court
